              Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 1 of 22




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


DAVID AMBROSE, individually and on
behalf of all others similarly situated,                Case No.

                         Plaintiff,                     CLASS ACTION COMPLAINT

         v.                                             JURY TRIAL DEMANDED

BOSTON GLOBE MEDIA PARTNERS, LLC,

                         Defendant.


         Plaintiff David Ambrose (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by and through his attorneys, makes the following allegations pursuant to the

investigation of his counsel and based upon information and belief, except as to allegations

specifically pertaining to himself and his counsel, which are based on personal knowledge.

                                      NATURE OF THE ACTION

         1.       This is a class action suit brought on behalf of all persons with Facebook accounts

who subscribe to the Boston Globe and view videos on bostonglobe.com.

         2.       Boston Globe Media Partners LLC (“Defendant” or “Boston Globe”) develops,

owns, and operates bostonglobe.com, which “feature[es] national and local content daily.” 1

Boston Globe makes money by offering paid subscriptions and selling advertising space.

         3.       Plaintiff brings this action in response to Defendant’s practice of knowingly

disclosing its subscribers’ personally identifiable information—including a record of every video

clip they view—to Facebook without consent.




1
    BOSTON GLOBE MEDIA, https://www.bostonglobemedia.com/bostonglobe.


                                                   1
            Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 2 of 22




       4.       The United States Congress passed the Video Privacy Protection Act (“VPPA”) in

1988, seeking to confer onto consumers the power to “maintain control over personal

information divulged and generated in exchange for receiving services from video tape service

providers.” S. Rep. No. 100-599, at 8. “The Act reflects the central principle of the Privacy Act

of 1974: that information collected for one purpose may not be used for a different purpose

without the individual’s consent.” Id.

       5.       Defendant violated the VPPA by knowingly transmitting Plaintiff’s and the

putative class’s personally identifiable information to unrelated third parties.

                                  FACTUAL BACKGROUND

I.     The VPPA

       6.       The origins of the VPPA begin with President Ronald Reagan’s nomination of

Judge Robert Bork to the United States Supreme Court. During the confirmation process, a

movie rental store disclosed the nominee’s rental history to the Washington City Paper, who then

published that history. Congress responded by passing the VPPA, with an eye toward the digital

future. As Senator Patrick Leahy, who introduced the Act, explained:

       It is nobody’s business what Oliver North or Robert Bork or Griffin Bell or Pat
       Leahy watch on television or read or think about when they are home. In an area
       of interactive television cables, the growth of computer checking and check-out
       counters, of security systems and telephones, all lodged together in computers, it
       would be relatively easy at some point to give a profile of a person and tell what
       they buy in a store, what kind of food they like, what sort of television programs
       they watch, who are some of the people they telephone. I think that is wrong.

S. Rep. 100-599, at 5-6 (internal ellipses and brackets omitted).

       7.       The VPPA prohibits “[a] video tape service provider who knowingly discloses, to

any person, personally identifiable information concerning any consumer of such provider.” 18

U.S.C. § 2710(b)(1). The VPPA defines personally identifiable information as “information




                                                  2
            Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 3 of 22




which identifies a person as having requested or obtained specific video materials or services

from a video service provider.” 18 U.S.C. § 2710(a)(3). A video tape service provider is “any

person, engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or

delivery of prerecorded video cassette tapes or similar audio visual materials.” 18 U.S.C. §

2710(a)(4).

II.    The Facebook Tracking Pixel

       8.       Facebook is the largest social networking site on the planet, touting 2.9 billion

monthly active users. 2 Facebook describes itself as a “real identity platform,” 3 meaning users

are allowed only one account and must share “the name they go by in everyday life.” 4 To that

end, when creating an account, users must provide their first and last name, along with their

birthday and gender. 5

       9.       Facebook generates revenue by selling advertising space on its website. 6

       10.      Facebook sells advertising space by highlighting its ability to target users. 7

Facebook can target users so effectively because it surveils user activity both on and off its site. 8

This allows Facebook to make inferences about users beyond what they explicitly disclose, like




2
  Sean Burch, Facebook Climbs to 2.9 Billion Users, Report 29.1 Billion in Q2 Sales, YAHOO
(July 28, 2021), https://www.yahoo.com/now/facebook-climbs-2-9-billion-202044267.html
3
  Sam Schechner and Jeff Horwitz, How Many Users Does Facebook Have? The Company
Struggles to Figure It Out, WALL. ST. J. (Oct. 21, 2021).
4
  FACEBOOK, COMMUNITY STANDARDS, PART IV INTEGRITY AND AUTHENTICITY,
https://www.facebook.com/communitystandards/integrity_authenticity.
5
  FACEBOOK, SIGN UP, https://www.facebook.com/
6
  Mike Isaac, Facebook’s profit surges 101 percent on strong ad sales., N.Y. TIMES (July 28,
2021), https://www.nytimes.com/2021/07/28/business/facebook-q2-earnings.html.
7
  FACEBOOK, WHY ADVERTISE ON FACEBOOK,
https://www.facebook.com/business/help/205029060038706.
8
  FACEBOOK, ABOUT FACEBOOK PIXEL,
https://www.facebook.com/business/help/742478679120153?id=1205376682832142.


                                                  3
          Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 4 of 22




their “interests,” “behavior,” and “connections.” 9 Facebook compiles this information into a

generalized dataset called “Core Audiences,” which advertisers use to apply highly specific

filters and parameters for their targeted advertisements. 10

       11.     Advertisers can also build “Custom Audiences.” 11 Custom Audiences enable

advertisers to reach “people who have already shown interest in [their] business, whether they’re

loyal customers or people who have used [their] app or visited [their] website.” 12 Advertisers can

use a Custom Audience to target existing customers directly, or they can use it to build a

“Lookalike Audiences,” which “leverages information such as demographics, interests, and

behavior from your source audience to find new people who share similar qualities.” 13 Unlike

Core Audiences, Custom Audiences require an advertiser to supply the underlying data to

Facebook. They can do so through two mechanisms: by manually uploading contact information

for customers, or by utilizing Facebook’s “Business Tools,” which collect and transmit the data

automatically. 14 One such Business Tool is the Facebook Tracking Pixel.

       12.     The Facebook Tracking Pixel is a piece of code that advertisers, like Defendant,

can integrate into their website. Once activated, the Facebook Tracking Pixel “tracks the people




9
   FACEBOOK, AD TARGETING: HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR BUSINESS,
https://www.facebook.com/business/ads/ad-targeting.
10
    FACEBOOK, EASIER, MORE EFFECTIVE WAYS TO REACH THE RIGHT PEOPLE ON FACEBOOK,
https://www.facebook.com/business/news/Core-Audiences.
11
    FACEBOOK, ABOUT CUSTOM AUDIENCES,
https://www.facebook.com/business/help/744354708981227?id=2469097953376494.
12
   FACEBOOK, ABOUT EVENTS CUSTOM AUDIENCE,
https://www.facebook.com/business/help/366151833804507?id=300360584271273.
13
    FACEBOOK, ABOUT LOOKALIKE AUDIENCES,
https://www.facebook.com/business/help/164749007013531?id=401668390442328.
14
    FACEBOOK, CREATE A CUSTOMER LIST CUSTOM AUDIENCE,
https://www.facebook.com/business/help/170456843145568?id=2469097953376494;
FACEBOOK, CREATE A WEBSITE CUSTOM AUDIENCE,
https://www.facebook.com/business/help/1474662202748341?id=2469097953376494.


                                                  4
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 5 of 22




and type of actions they take.” 15 When the Facebook Tracking Pixel captures an action, it sends

a record to Facebook. Once this record is received, Facebook processes it, analyzes it, and

assimilates it into datasets like the Core Audiences and Custom Audiences.

       13.     Advertisers control what actions—or, as Facebook calls it, “events”—the

Facebook Tracking Pixel will collect, including the website’s metadata, along with what pages a

visitor views and what buttons a visitor clicks. 16 Advertisers can also configure the Facebook

Tracking Pixel to track other events. Facebook offers a menu of “standard events” from which

advertisers can choose, including what content a visitor views or purchases. 17 An advertiser can

also create their own tracking parameters by building a “custom event.” 18

       14.     Advertisers control how the Facebook Tracking Pixel identifies visitors. The

Facebook Tracking Pixel is configured to automatically collect “HTTP Headers” and “Pixel-

specific Data.” 19 HTTP Headers collect “IP addresses, information about the web browser, page

location, document, referrer and persons using the website.” 20 Pixel-specific Data includes “the

Pixel ID and cookie.” 21




15
   FACEBOOK, RETARGETING, https://www.facebook.com/business/goals/retargeting.
16
   See FACEBOOK, FACEBOOK PIXEL, ACCURATE EVENT TRACKING, ADVANCED,
https://developers.facebook.com/docs/facebook-pixel/advanced/; see also FACEBOOK, BEST
PRACTICES FOR FACEBOOK PIXEL SETUP,
https://www.facebook.com/business/help/218844828315224?id=1205376682832142.
17
   FACEBOOK, SPECIFICATIONS FOR FACEBOOK PIXEL STANDARD EVENTS,
https://www.facebook.com/business/help/402791146561655?id=1205376682832142.
18
   FACEBOOK, ABOUT STANDARD AND CUSTOM WEBSITE EVENTS,
https://www.facebook.com/business/help/964258670337005?id=1205376682832142.
19
   FACEBOOK, FACEBOOK PIXEL, https://developers.facebook.com/docs/facebook-pixel/.
20
   Id.
21
   Id.


                                                5
            Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 6 of 22




II.       Boston Globe And The Facebook Pixel

          15.    Boston Globe has hosted and delivered hundreds of videos, featuring them on its

homepage and embedding them into its articles.

          16.    Boston Globe hosts the Facebook Tracking Pixel and transmits three distinct

events to Facebook: 22




          17.    These three events—PageView, Microdata, and Button Click—sufficiently permit

an ordinary person to identify a specific individual’s video viewing behavior.

          18.    PageView transmits the Uniform Resource Locator (“URL”) accessed, which

shows what webpage the visitor visited:




22
     This data derives from a tool created and offered by Facebook.


                                                  6
           Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 7 of 22




Figure 2




      19.      Microdata transmits the title and description of the webpage:

Figure 3




                                                7
           Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 8 of 22




       20.     Button Click registers every time a visitor views a video:

Figure 4




       21.     The button text sufficiently permits an ordinary person to identify what video an

individual has watched.

       22.     A visitor who is logged into Facebook while watching a video on Boston Globe

will transmit the c_user cookie to Facebook. The c_user cookie contains that visitor’s

unencrypted Facebook ID. When accessing the above video, for example, Boston Globe

compelled the browser to send eleven cookies, ten of which are visible here:




                                                8
           Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 9 of 22




Figure 5




       23.     When a visitor’s browser has recently logged out of Facebook, the Boston Globe

will compel the browser to send a smaller set of cookies: 23

Figure 6




       24.     The fr cookie contains, at least, an encrypted Facebook ID and browser

identifier. 24 The _fbp cookie contains, at least, an unencrypted value that uniquely identifies a




23
  Figures 5 and 6 omit a duplicate _fbp cookie that is sent as a first-party cookie.
24
  DATA PROTECTION COMMISSIONER, FACEBOOK IRELAND LTD, REPORT OF RE-AUDIT (Sept. 21,
2012), http://www.europe-v-facebook.org/ODPC_Review.pdf.


                                                 9
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 10 of 22




browser. 25 The datr cookies also identifies a browser. 26 Facebook, at a minimum, uses the fr

and _fbp cookies to identify users. 27

       25.     If a visitor has never created a Facebook account, three cookies are transmitted:

Figure 7




       26.     Without a corresponding Facebook ID, the fr cookie contains, at least, an

abbreviated and encrypted value that identifies the browser. The _fbp cookie contains, at least,

an unencrypted value that uniquely identifies a browser. Facebook uses both for targeted

advertising.

       27.     The fr cookie will expire after 90 days unless the visitor’s browser logs back into

Facebook. 28 If that happens, the time resets, and another 90 days begins to accrue. 29

       28.     The _fbp cookie will expire after 90 days unless the visitor’s browser accesses the

same website. 30 If that happens, the time resets, and another 90 days begins to accrue. 31




25
   FACEBOOK, CONVERSION API, https://developers.facebook.com/docs/marketing-
api/conversions-api/parameters/fbp-and-fbc/.
26
   FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
https://www.facebook.com/policy/cookies/.
27
   FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
https://www.facebook.com/policy/cookies/.
28
   See FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
https://www.facebook.com/policy/cookies/.
29
   Confirmable through developer tools.
30
   See FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
https://www.facebook.com/policy/cookies/.
31
   Also confirmable through developer tools.


                                                 10
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 11 of 22




       29.     The Facebook Tracking Pixel uses both first- and third-party cookies. A first-

party cookie is “created by the website the user is visiting”—i.e., Boston Globe. 32 A third-party

cookie is “created by a website with a domain name other than the one the user is currently

visiting”—i.e., Facebook. 33 The _fbp cookie is always transmitted as a first-party cookie. A

duplicate _fbp cookie is sometimes sent as a third-party cookie, depending on whether the

browser has recently logged into Facebook.

       30.     Facebook, at a minimum, uses the fr, _fbp, and c_user cookies to link to Facebook

IDs and corresponding Facebook profiles.

       31.     A Facebook ID is personally identifiable information. Anyone can identify a

Facebook profile—and all personal information publicly listed on that profile—by appending the

Facebook ID to the end of Facebook.com.

       32.     Through the Facebook Tracking Pixel’s code, these cookies combine the

identifiers with the event data, allowing Facebook to know, among other things, what Boston

Globe videos a user has watched. 34

       33.     Boston Globe also uses “Automatic Advanced Matching.” When activated, the

Facebook Tracking Pixel will “look for recognizable form field and other sources on your

website that contain information such as first name, last name and email.” 35 The Facebook

Tracking Pixel’s code will collect that information, “along with the event, or action, that took




32
   PC MAG, FIRST-PARTY COOKIES, https://www.pcmag.com/encyclopedia/term/first-party-
cookie. This is confirmable by using developer tools to inspect a website’s cookies and track
network activity.
33
   PC MAG, THIRD-PARTY COOKIES, https://www.pcmag.com/encyclopedia/term/third-party-
cookie. This is also confirmable by tracking network activity.
34
   FACEBOOK, GET STARTED, https://developers.facebook.com/docs/meta-pixel/get-started.
35
   https://www.facebook.com/business/help/611774685654668?id=1205376682832142


                                                11
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 12 of 22




place.” 36 This information is “hashed,” 37 meaning it is “[a] computed summary of digital data

that is a one-way process.” In other words, it “cannot be reversed back into the original data.” 38

       34.     Boston Globe discloses this information so it can better match visitors to their

Facebook profiles, which thereby allows Boston Globe to better target its advertisements:




       35.     Boston Globe’s Facebook Tracking Pixels are configured to scan form fields

containing a user’s email, first name, and last name: 39




36
   FACEBOOK, ABOUT ADVANCED MATCHING FOR WEB,
https://www.facebook.com/business/help/611774685654668?id=1205376682832142.
37
   DEFINITION OF HASH, https://www.pcmag.com/encyclopedia/term/hash
38
   Id.
39
   Facebook provides a corresponding look-up table: FACEBOOK, ADVANCED MATCHING,
https://developers.facebook.com/docs/meta-pixel/advanced/advanced-matching.


                                                 12
        Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 13 of 22




       36.      When first signing up, Boston Globe’s interface contains form fields for email

and password:

       37.      When paying for a subscription, Boston Globe requires prospective subscribers to

enter their card information, which includes their first name and last name:




                                                13
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 14 of 22




       38.     Every subsequent log-in attempt requires subscribers to input their email:




       39.     Boston Globe discloses a subscriber’s email address, first name and last name

when inputted into any of the above form fields, which enables Facebook to then match those

identifiers with that subscriber’s subsequent activity on the site.

       40.     Boston Globe knows that Facebook will match the Advanced Matching

parameters with a subscriber’s subsequent activity, thereby helping Boston Globe “[i]ncrease the

number of attributed conversions,” “[i]ncrease [its] Custom Audience size,” and “[d]ecrease the

cost per conversion.” 40

       41.     By compelling a visitor’s browser to disclose the Advanced Matching parameters

alongside event data for videos, Boston Globe knowingly discloses information sufficiently

permitting an ordinary person to identify a specific individual’s video viewing behavior.




40
   FACEBOOK, ABOUT ADVANCED MATCHING FOR WEB,
https://www.facebook.com/business/help/611774685654668?id=1205376682832142.


                                                 14
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 15 of 22




       42.     By compelling a visitor’s browser to disclose the c_user cookie alongside event

data for videos, Boston Globe knowingly discloses information sufficiently permitting an

ordinary person to identify a specific individual’s video viewing behavior.

       43.     By compelling a visitor’s browser to disclose the fr and _fbp cookies alongside

event data for videos, Boston Globe discloses information sufficiently permitting an ordinary

person to identify a specific individual’s video viewing behavior.

       44.     By compelling a visitor’s browser to disclose the fr cookie and other browser

identifiers alongside event data for videos, Boston Globe discloses information sufficiently

permitting an ordinary person to identify a specific individual’s video viewing behavior.

       45.     Facebook confirms that it matches activity on Boston Globe with a user’s profile.

Facebook allows users to download their “off-site activity,” which is a “summary of activity that

businesses and organizations share with us about your interactions, such as visiting their apps or

websites.” 41 Here, the off-site activity report confirms that Boston Globe identifies an

individual’s reading and video viewing activities:




41
   FACEBOOK, WHAT IS OFF-FACEBOOK ACTIVITY?,
https://www.facebook.com/help/2207256696182627


                                                15
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 16 of 22




       46.     The third “ID” shown here is the same Facebook Pixel ID visible in the first

image. 42 The Facebook Pixel ID is a numerical code that uniquely identifies each Pixel. 43 In

practice, this means Boston Globe’s Facebook Tracking Pixel has a Pixel ID that differs from all

other websites. All subscribers who view videos on Boston Globe’s website can pull their off-

site activity report and see the same Pixel ID.

       47.     Individuals can subscribe to Boston Globe by purchasing a digital subscription or

a home delivery subscription.

III.   Experience of Plaintiff David Ambrose

       48.     In August 2020, Plaintiff Ambrose purchased a digital subscription to the Boston

Globe’s website.

       49.     In 2005, Plaintiff Ambrose created a Facebook account.


42
   All three Pixel IDs shown here correspond to the three Facebook Tracking Pixels that Boston
Globe has integrated into its website. The visible data from the other two Pixels overlap, so for
the sake of clarity, this Complaint only includes screenshots from the third.
43
   FACEBOOK, GET STARTED, https://developers.facebook.com/docs/meta-pixel/get-started.


                                                  16
           Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 17 of 22




          50.    Plaintiff Ambrose frequently visits Boston Globe to, among other things, watch

videos.

          51.    When Plaintiff Ambrose watched videos on bostonglobe.com, Defendant

disclosed to Facebook email address, first name, last name, Facebook ID, browser identifiers,

and other identifying information.

          52.    When Plaintiff Ambrose watched videos on Boston Globe, Defendant disclosed

his event data, which includes the pages he viewed, the buttons he clicked, and metadata for the

webpages he visited. This event data, which Boston Globe transmitted through first-party

cookies, sufficiently identified the video’s title.

          53.    Plaintiff Ambrose discovered that Boston Globe surreptitiously collected and

transmitted his personally identifiable information in January 2022.

                                              PARTIES

          54.    Plaintiff Ambrose is, and has been at all relevant times, a resident of Irvine,

California and has an intent to remain there, and is therefore a domiciliary of California.

          55.    Defendant Boston Globe Media Partners LLC is a Massachusetts corporation with

its principal place of business at 135 Morrissey Boulevard, Boston, Massachusetts. Defendant

develops, owns, and operates bostonglobe.com, which is used throughout Massachusetts and the

United States.

                                  JURISDICTION AND VENUE

          56.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it arises under a law of the United States (the VPPA).

          57.    This Court has personal jurisdiction over Defendant because Defendant’s

principal place of business is in Boston, Massachusetts.




                                                      17
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 18 of 22




       58.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the claim occurred in this District.

                                    CLASS ALLEGATIONS

       59.     Class Definition: Plaintiff seeks to represent a class of similarly situated

individuals defined as all persons in the United States who have a Facebook account, subscribed

to Boston Globe, and viewed videos on Boston Globe’s website (the “Class”).

       60.     Subject to additional information obtained through further investigation and

discovery, the above-described Class may be modified or narrowed as appropriate, including

through the use of multi-state subclasses.

       61.     Numerosity (Fed. R. Civ. P. 23(a)(1)): At this time, Plaintiff does not know the

exact number of members of the aforementioned Class. However, given the popularity of

Defendant’s website, the number of persons within the Class is believed to be so numerous that

joinder of all members is impractical.

       62.     Commonality and Predominance (Fed. R. Civ. P. 23(a)(2), 23(b)(3)): There is

a well-defined community of interest in the questions of law and fact involved in this case.

Questions of law and fact common to the members of the Class that predominate over questions

that may affect individual members of the Class include:

               (a) whether Defendant collected Plaintiff’s and the Class’s PII;

               (b) whether Defendant unlawfully disclosed and continues to disclose its
                   users’ PII in violation of the VPPA;

               (c) whether Defendant’s disclosures were committed knowingly; and

               (d) whether Defendant disclosed Plaintiff’s and the Class’s PII without
                   consent.




                                                 18
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 19 of 22




       63.     Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiff’s claims are typical of those of

the Class because Plaintiff, like all members of the Class, used Boston Globe’s website to watch

videos, and had his PII collected and disclosed by Defendant.

       64.     Adequacy (Fed. R. Civ. P. 23(a)(4)): Plaintiff has retained and are represented

by qualified and competent counsel who are highly experienced in complex consumer class

action litigation, including litigation concerning the VPPA and its state-inspired offspring.

Plaintiff and their counsel are committed to vigorously prosecuting this class action. Moreover,

Plaintiff is able to fairly and adequately represent and protect the interests of the Class. Neither

Plaintiff nor his counsel has any interest adverse to, or in conflict with, the interests of the absent

members of the Class. Plaintiff has raised viable statutory claims or the type reasonably

expected to be raised by members of the Class, and will vigorously pursue those claims. If

necessary, Plaintiff may seek leave of this Court to amend this Class Action Complaint to

include additional representatives to represent the Class, additional claims as may be appropriate,

or to amend the definition of the Class to address any steps that Defendant took.

       65.     Superiority (Fed. R. Civ. P. 23(b)(3)): A class action is superior to other

available methods for the fair and efficient adjudication of this controversy because individual

litigation of the claims of all members of the Class is impracticable. Even if every member of

the Class could afford to pursue individual litigation, the court system could not. It would be

unduly burdensome to the courts in which individual litigation of numerous cases would

proceed. Individualized litigation would also present the potential for varying, inconsistent or

contradictory judgments, and would magnify the delay and expense to all parties and to the court

system resulting from multiple trials of the same factual issues. By contrast, the maintenance of

this action as a class action, with respect to some or all of the issues presented herein, presents




                                                  19
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 20 of 22




few management difficulties, conserves the resources of the parties and of the court system and

protects the rights of each member of the Class. Plaintiff anticipates no difficulty in the

management of this action as a class action.

                                     CAUSES OF ACTION

                                     COUNT I
               VIOLATION OF THE VIDEO PRIVACY PROTECTION ACT
                              18 U.S.C. § 2710, et seq.

       66.     Plaintiff brings this claim individually and on behalf of the members of the

proposed Class against Defendant.

       67.     Defendant is a “video tape service provider” because it has created, hosted, and

delivered hundreds of videos on its website, thereby “engag[ing] in the business, in or affecting

interstate or foreign commerce, of rental, sale, or delivery of prerecorded video cassette tapes or

similar audio visual materials.” 18 U.S.C. § 2710(a)(4).

       68.     Plaintiff and members of the Class are “consumers” because they paid for a

subscription to access Boston Globe’s website. 18 U.S.C. § 2710(a)(1). This makes them a

“subscriber” and therefore a “consumer” under the VPPA.

       69.     Boston Globe disclosed to a third party, Facebook, Plaintiff’s and the Class

members’ personally identifiable information. Boston Globe utilized the Facebook Tracking

Pixel to compel Plaintiff’s web browser to transfer Plaintiff’s identifying information, like his

Facebook ID, along with Plaintiff’s event data, like the title of the videos he viewed and what

buttons he pressed when doing so.

       70.     Plaintiff and the Class members viewed video clips using Boston Globe’s website.

       71.     Boston Globe knowingly disclosed Plaintiff’s PII because it used that data to

build audiences on Facebook and retarget them for their advertising campaigns.




                                                 20
         Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 21 of 22




        72.     Plaintiff and class members did not provide Defendant with any form of

consent—either written or otherwise—to disclose their PII to third parties.

        73.     Nor were Defendant’s disclosures made in the “ordinary course of business” as

the term is defined by the VPPA. In particular, Boston Globe’s disclosures to Facebook were not

necessary for “debt collection activities, order fulfillment, request processing, [or] transfer of

ownership.” 18 U.S.C. § 2710(a)(2).

        74.     On behalf of himself and the Class, Plaintiff seeks: (i) declaratory relief;

(ii) injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class

by requiring Defendant to comply with VPPA’s requirements for protecting a consumer’s PII;

(iii) statutory damages of $2,500 for each violation of the VPPA pursuant to 18 U.S.C. §

2710(c); and (iv) reasonable attorneys’ fees and costs and other litigation expenses.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff seeks a judgment against Defendant, individually and on behalf

of all others similarly situated, as follows:

         (a)    For an order certifying the Class under Rule 23 of the Federal Rules of Civil

                Procedure, naming Plaintiff as representative of the Class, and naming Plaintiff’s

                attorneys as Class Counsel to represent the Class;

         (b)    For an order declaring that Defendant’s conduct violates the statutes referenced

                herein;

         (c)    For an order finding in favor of Plaintiff and the Class on all counts asserted

                herein;

         (d)    An award of statutory damages to the extent available;

         (e)    For punitive damages, as warranted, in an amount to be determined at trial;




                                                  21
            Case 1:22-cv-10195-RGS Document 1 Filed 02/05/22 Page 22 of 22




           (f)    For prejudgment interest on all amounts awarded;

           (g)    For injunctive relief as pleaded or as the Court may deem proper; and

           (h)    For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and

                  expenses and costs of suit.

                                            JURY DEMAND

           Pursuant to Fed. R. Civ. P. 38(b)(1), Plaintiff demands a trial by jury of all issues so

triable.

Dated: February 5, 2022                           Respectfully submitted,

                                                  /s/ David S. Godkin
                                                  David S. Godkin (BBO#196530)
                                                  James E. Kruzer (BBO#670827)
                                                  BIRNBAUM & GODKIN, LLP
                                                  1 Marina Park Drive, Suite 1410
                                                  Boston, MA 02210
                                                  (617) 307-6100
                                                  godkin@birnbaumgodkin.com
                                                  kruzer@birnbaumgodkin.com

                                                  BURSOR & FISHER, P.A.
                                                  Joshua D. Arisohn*
                                                  Philip L. Fraietta*
                                                  888 Seventh Avenue
                                                  New York, NY 10019
                                                  Tel: (646) 837-7150
                                                  Fax: (212) 989-9163
                                                  E-Mail: jarisohn@bursor.com
                                                          pfraietta@bursor.com

                                                  BURSOR & FISHER, P.A.
                                                  Christopher R. Reilly*
                                                  701 Brickell Avenue, Suite 1420
                                                  Miami, FL 33131
                                                  Tel: (305) 330-5512
                                                  Fax: (305) 679-9006
                                                  E-Mail: creilly@bursor.com
                                                  *Pro Hac Vice Application Forthcoming

                                                  Attorneys for Plaintiff and the Putative Class



                                                    22
